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NOT FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



RICHARD VEZZA and KEVIN WHITMER,                       Civ. No. 2:13-CV-06983 (WJM)

              Plaintiffs,
                                                          OPINION AND ORDER
       v.

ALFRED DEMOLA,

              Defendant.


       THIS MATTER comes before this Court on the unopposed motion of Richard

Vezza and Kevin Whitmer (“Plaintiffs”) to enforce a settlement agreement entered into

with Alfred Demola (“Defendant”). In November 2013, Plaintiffs – who are newspapers

executives of the Newark Morning Ledger Co. – filed an action against Defendant

seeking, inter alia, a Permanent Injunction against Defendant for violations of the

Cybersquatting Consumer Protection Act, 15 U.S.C. § 8131, and the Cyberpiracy

Prevention Section of the Lanham Act.           In their Complaint, Plaintiffs allege that

Defendant registered their online domain names in a manner that redirected those names

to pornographic websites. Plaintiffs allege that Defendant took this action in retaliation

against Plaintiffs for publishing negative articles regarding Defendant’s business

practices.

       On May 16, 2014, the parties entered into, and this Court so ordered, a Permanent

Injunction By Consent (“the Permanent Injunction”). The matter was closed on that same

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day. Under the Permanent Injunction, Plaintiffs agreed to settle their lawsuit. In return,

Defendant agreed to transfer the domain names to Plaintiffs within 10 days and refrain

from registering the domain names of Plaintiffs or their business associates in the future.

The Permanent Injunction also stipulated that the Parties would enter into a Confidential

Settlement Agreement (“the Settlement Agreement”), which it appears the parties had

already entered into in February 2014.

       On August 20, 2014, Plaintiffs moved for this Court to enforce the Settlement

Agreement. According to Plaintiffs, the Settlement Agreement provided that Defendant

would pay Plaintiffs $10,000 within 45 days of executing the Settlement Agreement.

Plaintiffs allege that Defendant has violated the Settlement Agreement by paying

Plaintiffs only $5,000. Plaintiffs request that this Court enter judgment against Defendant

for $5,000 plus fees, costs, and interest.

       After conducting an in camera review of the Settlement Agreement, the Court

concludes that Defendant has violated the terms of the Agreement. The Settlement

Agreement unequivocally provides that Defendant is required to pay Plaintiffs $10,000

within 45 business days of executing the agreement. The record shows that Defendant

has paid Plaintiffs only $5,000, despite receiving numerous deadline extensions from

Plaintiffs’ counsel.   The 45-day period having long expired, the Court agrees that

Defendant has violated the Settlement Agreement and will grant Plaintiffs’ motion to

enforce the Agreement’s terms.




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       For the foregoing reasons and for good cause shown;

       IT IS on this 26th day of September 2014, hereby,

       ORDERED that Plaintiffs’ Motion to Enforce Settlement Agreement and Enter

Judgment is GRANTED; and it is hereby

       ORDERED that judgment be entered against Defendant Alfred Demola in the

amount of $5,000 plus attorney’s fees, costs, and interest on that amount at the applicable

statutory pre-judgment rate accruing from the date of the execution of the Settlement

Agreement; and it is hereby

       ORDERED that Plaintiffs’ counsel shall submit an Affidavit of Attorney’s Fees

within 30 days of entry of this Order.




                                                      /s/ William J. Martini
                                                   WILLIAM J. MARTINI, U.S.D.J.




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